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                                  UNITED STATES DISTRICT COURT
5                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
6
7     UNITED STATES OF AMERICA,

8                   Plaintiff,                            Case No. CR05-334RSL

9            v.                                           ORDER ON MOTION FOR PRETRIAL
                                                          DISCLOSURE OF BRADY MATERIAL
10    RAJINDER JOHAL, et al.,

11                  Defendants.

12
           This matter comes before the Court on “Defendant Johal’s Motion for Pretrial Disclosure
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     of Brady Material” (Dkt. # 132). The Court has considered this motion and the government’s
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     response, and it is clear that the government has already complied and recognizes its continuing
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     obligation in this area. See Brady v. Maryland, 373 U.S. 83 (1963). In light of this agreement,
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     defendant’s motion is DENIED AS MOOT.
17
18         DATED this 24th day of May, 2006.

19
20                                                   A
                                                     Robert S. Lasnik
21                                                   United States District Judge
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      ORDER ON MOTION FOR PRETRIAL
      DISCLOSURE OF BRADY MATERIAL
